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         DEC. 12, 2019, AT 6:00 AM


         Millennials Are Leaving
         Religion And Not Coming Back
         By Daniel Cox and Amelia Thomson-DeVeaux

         Filed under Religion


         Millennials have earned a reputation for reshaping industries
         and institutions — shaking up the workplace, transforming
         dating culture, and rethinking parenthood. They’ve also had a
         dramatic impact on American religious life. Four in ten
         millennials now say they are religiously una�liated, according
         to the Pew Research Center. In fact, millennials (those between
         the ages of 23 and 38) are now almost as likely to say they have
         no religion as they are to identify as Christian. 1

         For a long time, though, it wasn’t clear whether this youthful
         defection from religion would be temporary or permanent. It
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         seemed possible that as millennials grew older, at least some
         would return to a more traditional religious life. But there’s
         mounting evidence that today’s younger generations may be
         leaving religion for good.

         Social science research has long suggested that Americans’
         relationship with religion has a tidal quality — people who were
         raised religious �nd themselves drifting away as young adults,
         only to be drawn back in when they �nd spouses and begin to
         raise their own families. Some argued that young adults just
         hadn’t yet been pulled back into the fold of organized religion,
         especially since they were hitting major milestones like
         marriage and parenthood later on.




         But now many millennials have spouses, children and mortgages
         — and there’s little evidence of a corresponding surge in
         religious interest. A new national survey from the American
         Enterprise Institute of more than 2,500 Americans found a few
         reasons why millennials may not return to the religious fold.
         (One of the authors of this article helped conduct the survey.)

             For one thing, many millennials never had strong ties to
             religion to begin with, which means they were less likely to
             develop habits or associations that make it easier to return
             to a religious community.

             Young adults are also increasingly likely to have a spouse
             who is nonreligious, which may help reinforce their secular
             worldview.

             Changing views about the relationship between morality
             and religion also appear to have convinced many young
             parents that religious institutions are simply irrelevant or
             unnecessary for their children.

         Millennials may be the symbols of a broader societal shift away
         from religion, but they didn’t start it on their own. Their parents
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         are at least partly responsible for a widening generational gap in
         religious identity and beliefs; they were more likely than
         previous generations to raise their children without any
         connection to organized religion. According to the AEI survey,
         17 percent of millennials said that they were not raised in any
         particular religion compared with only �ve percent of Baby
         Boomers. And fewer than one in three (32 percent) millennials
         say they attended weekly religious services with their family
         when they were young, compared with about half (49 percent)
         of Baby Boomers.

         A parent’s religious identity (or lack thereof) can do a lot to
         shape a child’s religious habits and beliefs later in life. A 2016
         Pew Research Center study found that regardless of the religion,
         those raised in households in which both parents shared the
         same religion still identi�ed with that faith in adulthood. For
         instance, 84 percent of people raised by Protestant parents are
         still Protestant as adults. Similarly, people raised without
         religion are less apt to look for it as they grow older — that
         same Pew study found that 63 percent of people who grew up
         with two religiously una�liated parents were still nonreligious
         as adults.

         But one �nding in the survey signals that even millennials who
         grew up religious may be increasingly unlikely to return to
         religion. In the 1970s, most nonreligious Americans had a
         religious spouse and often, that partner would draw them back
         into regular religious practice. But now, a growing number of
         una�liated Americans are settling down with someone who
         isn’t religious — a process that may have been accelerated by
         the sheer number of secular romantic partners available, and the
         rise of online dating. Today, 74 percent of una�liated
         millennials have a nonreligious partner or spouse, while only 26
         percent have a partner who is religious.

         Luke Olli�, a 30-year-old man living in Atlanta, says that he and
         his wife gradually shed their religious a�liations together. “My
         family thinks she convinced me to stop going to church and her
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         family thinks I was the one who convinced her,” he said. “But
         really it was mutual. We moved to a city and talked a lot about
         how we came to see all of this negativity from people who were
         highly religious and increasingly didn’t want a part in it.” This
         view is common among young people. A majority (57 percent)
         of millennials agree that religious people are generally less
         tolerant of others, compared to only 37 percent of Baby
         Boomers.

         Young adults like Olli� are also less likely to be drawn back to
         religion by another important life event — having children. For
         much of the country’s history, religion was seen as an obvious
         resource for children’s moral and ethical development. But
         many young adults no longer see religion as a necessary or even
         desirable component of parenting. Less than half (46 percent) of
         millennials believe it is necessary to believe in God to be moral.
         They’re also much less likely than Baby Boomers to say that it’s
         important for children to be brought up in a religion so they can
         learn good values (57 percent vs. 75 percent).

         These attitudes are re�ected in decisions about how young
         adults are raising their children. 45 percent of millennial parents
         say they take them to religious services and 39 percent say they
         send them to Sunday school or a religious education program.
         Baby Boomers, by contrast, were signi�cantly more likely to
         send their children to Sunday school (61 percent) and to take
         them to church regularly (58 percent).




         Mandie, a 32-year-old woman living in southern California and
         who asked that her last name not be used, grew up going to
         church regularly but is no longer religious. She told us she’s not
         convinced a religious upbringing is what she’ll choose for her
         one-year-old child. “My own upbringing was religious, but I’ve
         come to believe you can get important moral teachings outside
         religion,” she said. “And in some ways I think many religious
         organizations are not good models for those teachings.”
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         Why does it matter if millennials’ rupture with religion turns out
         to be permanent? For one thing, religious involvement is
         associated with a wide variety of positive social outcomes like
         increased interpersonal trust and civic engagement that are hard
         to reproduce in other ways. And this trend has obvious political
         implications. As we wrote a few months ago, whether people are
         religious is increasingly tied to — and even driven by — their
         political identities. For years, the Christian conservative
         movement has warned about a tide of rising secularism, but
         research has suggested that the strong association between
         religion and the Republican Party may actually be fueling this
         divide. And if even more Democrats lose their faith, that will
         only exacerbate the acrimonious rift between secular liberals
         and religious conservatives.

         “At that critical moment when people are getting married and
         having kids and their religious identity is becoming more stable,
         Republicans mostly do still return to religion — it’s Democrats
         that aren’t coming back,” said Michele Margolis, author of
         “From the Politics to the Pews: How Partisanship and the
         Political Environment Shape Religious Identity.” in an interview
         for our September story.

         Of course, millennials’ religious trajectory isn’t set in stone —
         they may yet become more religious as they age. But it’s easier
         to return to something familiar later in life than to try
         something completely new. And if millennials don’t return to
         religion and instead begin raising a new generation with no
         religious background, the gulf between religious and secular
         America may grow even deeper.



         Footnotes

             1.
                  For this analysis, we relied on the generational categories outlined by the
                  Pew Research Center.
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                          FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT


         ROBERT MARTIN; LAWRENCE LEE                No. 15-35845
         SMITH; ROBERT ANDERSON; JANET
         F. BELL; PAMELA S. HAWKES; and                D.C. No.
         BASIL E. HUMPHREY,                         1:09-cv-00540-
                       Plaintiffs-Appellants,            REB

                           v.
                                                      OPINION
         CITY OF BOISE,
                          Defendant-Appellee.


              Appeal from the United States District Court
                        for the District of Idaho
            Ronald E. Bush, Chief Magistrate Judge, Presiding

                   Argued and Submitted July 13, 2017
                           Portland, Oregon

                          Filed September 4, 2018

                Before: Marsha S. Berzon, Paul J. Watford,
                   and John B. Owens, Circuit Judges.

                         Opinion by Judge Berzon;
          Partial Concurrence and Partial Dissent by Judge Owens
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         2                   MARTIN V. CITY OF BOISE

                                     SUMMARY*


                                      Civil Rights

             The panel affirmed in part and reversed in part the district
         court’s summary judgment in an action brought by six current
         or formerly homeless City of Boise residents who alleged that
         their citations under the City’s Camping and Disorderly
         Conduct Ordinances violated the Eighth Amendment’s
         prohibition on cruel and unusual punishment.

            Plaintiffs sought damages for the alleged violations under
         42 U.S.C. § 1983. Two plaintiffs also sought prospective
         declaratory and injunctive relief precluding future
         enforcement of the ordinances. In 2014, after this litigation
         began, the ordinances were amended to prohibit their
         enforcement against any homeless person on public property
         on any night when no shelter had an available overnight
         space.

             The panel first held that two plaintiffs had standing to
         pursue prospective relief because they demonstrated a
         genuine issue of material fact as to whether they faced a
         credible risk of prosecution on a night when they had been
         denied access to the City’s shelters. The panel noted that
         although the 2014 amendment precluded the City from
         enforcing the ordinances when shelters were full, individuals
         could still be turned away for reasons other than shelter
         capacity, such as for exceeding the shelter’s stay limits, or for


             *
               This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         failing to take part in a shelter’s mandatory religious
         programs.

             The panel held that although the doctrine set forth in Heck
         v. Humphrey, 512 U.S. 477 (1994) and its progeny precluded
         most — but not all — of the plaintiffs’ requests for
         retrospective relief, the doctrine had no application to
         plaintiffs’ request for an injunction enjoining prospective
         enforcement of the ordinances.

             Turning to the merits, the panel held that the Cruel and
         Unusual Punishments Clause of the Eighth Amendment
         precluded the enforcement of a statute prohibiting sleeping
         outside against homeless individuals with no access to
         alternative shelter. The panel held that, as long as there is no
         option of sleeping indoors, the government cannot criminalize
         indigent, homeless people for sleeping outdoors, on public
         property, on the false premise they had a choice in the matter.

             Concurring in part and dissenting in part, Judge Owens
         disagreed with the majority’s opinion that Heck v. Humphrey
         did not bar plaintiffs’ claim for declaratory and injunctive
         relief. Judge Owens stated that a declaration that the city
         ordinances are unconstitutional and an injunction against their
         future enforcement would necessarily demonstrate the
         invalidity of plaintiffs’ prior convictions. Judge Owens
         otherwise joined the majority in full.
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                                 COUNSEL

         Michael E. Bern (argued) and Kimberly Leefatt, Latham &
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         Legal Aid Services Inc., Boise, Idaho; Eric Tars, National
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         Plaintiffs-Appellants.

         Brady J. Hall (argued), Michael W. Moore, and Steven R.
         Kraft, Moore Elia Kraft & Hall LLP, Boise, Idaho; Scott B.
         Muir, Deputy City Attorney; Robert B. Luce, City Attorney;
         City Attorney’s Office, Boise, Idaho; for Defendant-
         Appellee.


                                  OPINION

         BERZON, Circuit Judge:

                “The law, in its majestic equality, forbids rich
                and poor alike to sleep under bridges, to beg
                in the streets, and to steal their bread.”

                                     — Anatole France, The Red Lily

             We consider whether the Eighth Amendment’s
         prohibition on cruel and unusual punishment bars a city from
         prosecuting people criminally for sleeping outside on public
         property when those people have no home or other shelter to
         go to. We conclude that it does.

             The plaintiffs-appellants are six current or former
         residents of the City of Boise (“the City”), who are homeless
         or have recently been homeless. Each plaintiff alleges that,
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         between 2007 and 2009, he or she was cited by Boise police
         for violating one or both of two city ordinances. The first,
         Boise City Code § 9-10-02 (the “Camping Ordinance”),
         makes it a misdemeanor to use “any of the streets, sidewalks,
         parks, or public places as a camping place at any time.” The
         Camping Ordinance defines “camping” as “the use of public
         property as a temporary or permanent place of dwelling,
         lodging, or residence.” Id. The second, Boise City Code § 6-
         01-05 (the “Disorderly Conduct Ordinance”), bans
         “[o]ccupying, lodging, or sleeping in any building, structure,
         or public place, whether public or private . . . without the
         permission of the owner or person entitled to possession or in
         control thereof.”

             All plaintiffs seek retrospective relief for their previous
         citations under the ordinances. Two of the plaintiffs, Robert
         Anderson and Robert Martin, allege that they expect to be
         cited under the ordinances again in the future and seek
         declaratory and injunctive relief against future prosecution.

             In Jones v. City of Los Angeles, 444 F.3d 1118, 1138 (9th
         Cir. 2006), vacated, 505 F.3d 1006 (9th Cir. 2007), a panel of
         this court concluded that “so long as there is a greater number
         of homeless individuals in Los Angeles than the number of
         available beds [in shelters]” for the homeless, Los Angeles
         could not enforce a similar ordinance against homeless
         individuals “for involuntarily sitting, lying, and sleeping in
         public.” Jones is not binding on us, as there was an
         underlying settlement between the parties and our opinion
         was vacated as a result. We agree with Jones’s reasoning and
         central conclusion, however, and so hold that an ordinance
         violates the Eighth Amendment insofar as it imposes criminal
         sanctions against homeless individuals for sleeping outdoors,
         on public property, when no alternative shelter is available to
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         them. Two of the plaintiffs, we further hold, may be entitled
         to retrospective and prospective relief for violation of that
         Eighth Amendment right.

                                     I. Background

            The district court granted summary judgment to the City
         on all claims. We therefore review the record in the light
         most favorable to the plaintiffs. Tolan v. Cotton, 134 S. Ct.
         1861, 1866 (2014).

            Boise has a significant and increasing homeless
         population. According to the Point-in-Time Count (“PIT
         Count”) conducted by the Idaho Housing and Finance
         Association, there were 753 homeless individuals in Ada
         County — the county of which Boise is the seat — in January
         2014, 46 of whom were “unsheltered,” or living in places
         unsuited to human habitation such as parks or sidewalks. In
         2016, the last year for which data is available, there were
         867 homeless individuals counted in Ada County, 125 of
         whom were unsheltered.1         The PIT Count likely
         underestimates the number of homeless individuals in Ada

             1
                 The United States Department of Housing and Urban Development
         (“HUD”) requires local homeless assistance and prevention networks to
         conduct an annual count of homeless individuals on one night each
         January, known as the PIT Count, as a condition of receiving federal
         funds. State, local, and federal governmental entities, as well as private
         service providers, rely on the PIT Count as a “critical source of data” on
         homelessness in the United States. The parties acknowledge that the PIT
         Count is not always precise. The City’s Director of Community
         Partnerships, Diana Lachiondo, testified that the PIT Count is “not always
         the . . . best resource for numbers,” but also stated that “the point-in-time
         count is our best snapshot” for counting the number of homeless
         individuals in a particular region, and that she “cannot give . . . any other
         number with any kind of confidence.”
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         County. It is “widely recognized that a one-night point in
         time count will undercount the homeless population,” as
         many homeless individuals may have access to temporary
         housing on a given night, and as weather conditions may
         affect the number of available volunteers and the number of
         homeless people staying at shelters or accessing services on
         the night of the count.

             There are currently three homeless shelters in the City of
         Boise offering emergency shelter services, all run by private,
         nonprofit organizations. As far as the record reveals, these
         three shelters are the only shelters in Ada County.

             One shelter — “Sanctuary” — is operated by Interfaith
         Sanctuary Housing Services, Inc. The shelter is open to men,
         women, and children of all faiths, and does not impose any
         religious requirements on its residents. Sanctuary has 96 beds
         reserved for individual men and women, with several
         additional beds reserved for families. The shelter uses floor
         mats when it reaches capacity with beds.

             Because of its limited capacity, Sanctuary frequently has
         to turn away homeless people seeking shelter. In 2010,
         Sanctuary reached full capacity in the men’s area “at least
         half of every month,” and the women’s area reached capacity
         “almost every night of the week.” In 2014, the shelter
         reported that it was full for men, women, or both on 38% of
         nights. Sanctuary provides beds first to people who spent the
         previous night at Sanctuary. At 9:00 pm each night, it allots
         any remaining beds to those who added their names to the
         shelter’s waiting list.

            The other two shelters in Boise are both operated by the
         Boise Rescue Mission (“BRM”), a Christian nonprofit
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         organization. One of those shelters, the River of Life Rescue
         Mission (“River of Life”), is open exclusively to men; the
         other, the City Light Home for Women and Children (“City
         Light”), shelters women and children only.

             BRM’s facilities provide two primary “programs” for the
         homeless, the Emergency Services Program and the New Life
         Discipleship Program.2 The Emergency Services Program
         provides temporary shelter, food, and clothing to anyone in
         need. Christian religious services are offered to those seeking
         shelter through the Emergency Services Program. The
         shelters display messages and iconography on the walls, and
         the intake form for emergency shelter guests includes a
         religious message.3

             Homeless individuals may check in to either BRM facility
         between 4:00 and 5:30 pm. Those who arrive at BRM
         facilities between 5:30 and 8:00 pm may be denied shelter,
         depending on the reason for their late arrival; generally,
         anyone arriving after 8:00 pm is denied shelter.

            Except in winter, male guests in the Emergency Services
         Program may stay at River of Life for up to 17 consecutive
         nights; women and children in the Emergency Services
         Program may stay at City Light for up to 30 consecutive


             2
              The record suggests that BRM provides some limited additional
         non-emergency shelter programming which, like the Discipleship
         Program, has overtly religious components.
             3
              The intake form states in relevant part that “We are a Gospel Rescue
         Mission. Gospel means ‘Good News,’ and the Good News is that Jesus
         saves us from sin past, present, and future. We would like to share the
         Good News with you. Have you heard of Jesus? . . . Would you like to
         know more about him?”
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         nights. After the time limit is reached, homeless individuals
         who do not join the Discipleship Program may not return to
         a BRM shelter for at least 30 days.4 Participants in the
         Emergency Services Program must return to the shelter every
         night during the applicable 17-day or 30-day period; if a
         resident fails to check in to a BRM shelter each night, that
         resident is prohibited from staying overnight at that shelter
         for 30 days. BRM’s rules on the length of a person’s stay in
         the Emergency Services Program are suspended during the
         winter.

             The Discipleship Program is an “intensive, Christ-based
         residential recovery program” of which “[r]eligious study is
         the very essence.” The record does not indicate any limit to
         how long a member of the Discipleship Program may stay at
         a BRM shelter.

             The River of Life shelter contains 148 beds for
         emergency use, along with 40 floor mats for overflow;
         78 additional beds serve those in non-emergency shelter
         programs such as the Discipleship Program. The City Light
         shelter has 110 beds for emergency services, as well as
         40 floor mats to handle overflow and 38 beds for women in
         non-emergency shelter programs. All told, Boise’s three
         homeless shelters contain 354 beds and 92 overflow mats for
         homeless individuals.

         A. The Plaintiffs

            Plaintiffs Robert Martin, Robert Anderson, Lawrence Lee
         Smith, Basil E. Humphrey, Pamela S. Hawkes, and Janet F.

             4
               The parties dispute the extent to which BRM actually enforces the
         17- and 30-day limits.
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         Bell are all homeless individuals who have lived in or around
         Boise since at least 2007. Between 2007 and 2009, each
         plaintiff was convicted at least once of violating the Camping
         Ordinance, the Disorderly Conduct Ordinance, or both. With
         one exception, all plaintiffs were sentenced to time served for
         all convictions; on two occasions, Hawkes was sentenced to
         one additional day in jail. During the same period, Hawkes
         was cited, but not convicted, under the Camping Ordinance,
         and Martin was cited, but not convicted, under the Disorderly
         Conduct Ordinance.

              Plaintiff Robert Anderson currently lives in Boise; he is
         homeless and has often relied on Boise’s shelters for housing.
         In the summer of 2007, Anderson stayed at River of Life as
         part of the Emergency Services Program until he reached the
         shelter’s 17-day limit for male guests. Anderson testified that
         during his 2007 stay at River of Life, he was required to
         attend chapel services before he was permitted to eat dinner.
         At the conclusion of his 17-day stay, Anderson declined to
         enter the Discipleship Program because of his religious
         beliefs. As Anderson was barred by the shelter’s policies
         from returning to River of Life for 30 days, he slept outside
         for the next several weeks. On September 1, 2007, Anderson
         was cited under the Camping Ordinance. He pled guilty to
         violating the Camping Ordinance and paid a $25 fine; he did
         not appeal his conviction.

             Plaintiff Robert Martin is a former resident of Boise who
         currently lives in Post Falls, Idaho. Martin returns frequently
         to Boise to visit his minor son. In March of 2009, Martin was
         cited under the Camping Ordinance for sleeping outside; he
         was cited again in 2012 under the same ordinance.
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         B. Procedural History

             The plaintiffs filed this action in the United States District
         Court for the District of Idaho in October of 2009. All
         plaintiffs alleged that their previous citations under the
         Camping Ordinance and the Disorderly Conduct Ordinance
         violated the Cruel and Unusual Punishments Clause of the
         Eighth Amendment, and sought damages for those alleged
         violations under 42 U.S.C. § 1983. Cf. Jones, 444 F.3d at
         1138. Anderson and Martin also sought prospective
         declaratory and injunctive relief precluding future
         enforcement of the ordinances under the same statute and the
         Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202.

             After this litigation began, the Boise Police Department
         promulgated a new “Special Order,” effective as of January
         1, 2010, that prohibited enforcement of either the Camping
         Ordinance or the Disorderly Conduct Ordinance against any
         homeless person on public property on any night when no
         shelter had “an available overnight space.” City police
         implemented the Special Order through a two-step procedure
         known as the “Shelter Protocol.”

              Under the Shelter Protocol, if any shelter in Boise reaches
         capacity on a given night, that shelter will so notify the police
         at roughly 11:00 pm. Each shelter has discretion to determine
         whether it is full, and Boise police have no other mechanism
         or criteria for gauging whether a shelter is full. Since the
         Shelter Protocol was adopted, Sanctuary has reported that it
         was full on almost 40% of nights. Although BRM agreed to
         the Shelter Protocol, its internal policy is never to turn any
         person away because of a lack of space, and neither BRM
         shelter has ever reported that it was full.
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             If all shelters are full on the same night, police are to
         refrain from enforcing either ordinance. Presumably because
         the BRM shelters have not reported full, Boise police
         continue to issue citations regularly under both ordinances.

             In July 2011, the district court granted summary judgment
         to the City. It held that the plaintiffs’ claims for retrospective
         relief were barred under the Rooker-Feldman doctrine and
         that their claims for prospective relief were mooted by the
         Special Order and the Shelter Protocol. Bell v. City of Boise,
         834 F. Supp. 2d 1103 (D. Idaho 2011). On appeal, we
         reversed and remanded. Bell v. City of Boise, 709 F.3d 890,
         901 (9th Cir. 2013). We held that the district court erred in
         dismissing the plaintiffs’ claims under the Rooker-Feldman
         doctrine. Id. at 897. In so holding, we expressly declined to
         consider whether the favorable-termination requirement from
         Heck v. Humphrey, 512 U.S. 477 (1994), applied to the
         plaintiffs’ claims for retrospective relief. Instead, we left the
         issue for the district court on remand. Bell, 709 F.3d at 897
         n.11.

             Bell further held that the plaintiffs’ claims for prospective
         relief were not moot. The City had not met its “heavy
         burden” of demonstrating that the challenged conduct —
         enforcement of the two ordinances against homeless
         individuals with no access to shelter — “could not reasonably
         be expected to recur.” Id. at 898, 901 (quoting Friends of the
         Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S.
         167, 189 (2000)). We emphasized that the Special Order was
         a statement of administrative policy and so could be amended
         or reversed at any time by the Boise Chief of Police. Id. at
         899–900.
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             Finally, Bell rejected the City’s argument that the
         plaintiffs lacked standing to seek prospective relief because
         they were no longer homeless. Id. at 901 & n.12. We noted
         that, on summary judgment, the plaintiffs “need not establish
         that they in fact have standing, but only that there is a genuine
         issue of material fact as to the standing elements.” Id.
         (citation omitted).

             On remand, the district court again granted summary
         judgment to the City on the plaintiffs’ § 1983 claims. The
         court observed that Heck requires a § 1983 plaintiff seeking
         damages for “harm caused by actions whose unlawfulness
         would render a conviction or sentence invalid” to demonstrate
         that “the conviction or sentence has been reversed on direct
         appeal, expunged by executive order, declared invalid by a
         state tribunal . . . or called into question by a federal court’s
         issuance of a writ of habeas corpus.” 512 U.S. at 486–87.
         According to the district court, “a judgment finding the
         Ordinances unconstitutional . . . necessarily would imply the
         invalidity of Plaintiffs’ [previous] convictions under those
         ordinances,” and the plaintiffs therefore were required to
         demonstrate that their convictions or sentences had already
         been invalidated. As none of the plaintiffs had raised an
         Eighth Amendment challenge as a defense to criminal
         prosecution, nor had any plaintiff successfully appealed their
         conviction, the district court held that all of the plaintiffs’
         claims for retrospective relief were barred by Heck. The
         district court also rejected as barred by Heck the plaintiffs’
         claim for prospective injunctive relief under § 1983,
         reasoning that “a ruling in favor of Plaintiffs on even a
         prospective § 1983 claim would demonstrate the invalidity of
         any confinement stemming from those convictions.”
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             Finally, the district court determined that, although Heck
         did not bar relief under the Declaratory Judgment Act, Martin
         and Anderson now lack standing to pursue such relief. The
         linchpin of this holding was that the Camping Ordinance and
         the Disorderly Conduct Ordinance were both amended in
         2014 to codify the Special Order’s mandate that “[l]aw
         enforcement officers shall not enforce [the ordinances] when
         the individual is on public property and there is no available
         overnight shelter.” Boise City Code §§ 6-01-05, 9-10-02.
         Because the ordinances, as amended, permitted camping or
         sleeping in a public place when no shelter space was
         available, the court held that there was no “credible threat” of
         future prosecution. “If the Ordinances are not to be enforced
         when the shelters are full, those Ordinances do not inflict a
         constitutional injury upon these particular plaintiffs . . . .”
         The court emphasized that the record “suggests there is no
         known citation of a homeless individual under the Ordinances
         for camping or sleeping on public property on any night or
         morning when he or she was unable to secure shelter due to
         a lack of shelter capacity” and that “there has not been a
         single night when all three shelters in Boise called in to report
         they were simultaneously full for men, women or families.”

              This appeal followed.
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                                     II. Discussion

         A. Standing

             We first consider whether any of the plaintiffs has
         standing to pursue prospective relief.5 We conclude that there
         are sufficient opposing facts in the record to create a genuine
         issue of material fact as to whether Martin and Anderson face
         a credible threat of prosecution under one or both ordinances
         in the future at a time when they are unable to stay at any
         Boise homeless shelter.6

             “To establish Article III standing, an injury must be
         concrete, particularized, and actual or imminent; fairly
         traceable to the challenged action; and redressable by a
         favorable ruling.” Clapper v. Amnesty Int’l USA, 133 S. Ct.
         1138, 1147 (2013) (citation omitted). “Although imminence
         is concededly a somewhat elastic concept, it cannot be
         stretched beyond its purpose, which is to ensure that the
         alleged injury is not too speculative for Article III purposes
         — that the injury is certainly impending.” Id. (citation
         omitted). A plaintiff need not, however, await an arrest or
         prosecution to have standing to challenge the constitutionality
         of a criminal statute. “When the plaintiff has alleged an


              5
                Standing to pursue retrospective relief is not in doubt. The only
         threshold question affecting the availability of a claim for retrospective
         relief — a question we address in the next section — is whether such
         relief is barred by the doctrine established in Heck.
             6
               Although the SAC is somewhat ambiguous regarding which of the
         plaintiffs seeks prospective relief, counsel for the plaintiffs made clear at
         oral argument that only two of the plaintiffs, Martin and Anderson, seek
         such relief, and the district court considered the standing question with
         respect to Martin and Anderson only.
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         intention to engage in a course of conduct arguably affected
         with a constitutional interest, but proscribed by a statute, and
         there exists a credible threat of prosecution thereunder, he
         should not be required to await and undergo a criminal
         prosecution as the sole means of seeking relief.” Babbitt v.
         United Farm Workers Nat’l Union, 442 U.S. 289, 298 (1979)
         (citation and internal quotation marks omitted). To defeat a
         motion for summary judgment premised on an alleged lack of
         standing, plaintiffs “ need not establish that they in fact have
         standing, but only that there is a genuine question of material
         fact as to the standing elements.” Cent. Delta Water Agency
         v. United States, 306 F.3d 938, 947 (9th Cir. 2002).

             In dismissing Martin and Anderson’s claims for
         declaratory relief for lack of standing, the district court
         emphasized that Boise’s ordinances, as amended in 2014,
         preclude the City from issuing a citation when there is no
         available space at a shelter, and there is consequently no risk
         that either Martin or Anderson will be cited under such
         circumstances in the future. Viewing the record in the light
         most favorable to the plaintiffs, we cannot agree.

             Although the 2014 amendments preclude the City from
         enforcing the ordinances when there is no room available at
         any shelter, the record demonstrates that the City is wholly
         reliant on the shelters to self-report when they are full. It is
         undisputed that Sanctuary is full as to men on a substantial
         percentage of nights, perhaps as high as 50%. The City
         nevertheless emphasizes that since the adoption of the Shelter
         Protocol in 2010, the BRM facilities, River of Life and City
         Light, have never reported that they are full, and BRM states
         that it will never turn people away due to lack space.
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             The plaintiffs have pointed to substantial evidence in the
         record, however, indicating that whether or not the BRM
         facilities are ever full or turn homeless individuals away for
         lack of space, they do refuse to shelter homeless people who
         exhaust the number of days allotted by the facilities.
         Specifically, the plaintiffs allege, and the City does not
         dispute, that it is BRM’s policy to limit men to
         17 consecutive days in the Emergency Services Program,
         after which they cannot return to River of Life for 30 days;
         City Light has a similar 30-day limit for women and children.
         Anderson testified that BRM has enforced this policy against
         him in the past, forcing him to sleep outdoors.

             The plaintiffs have adduced further evidence indicating
         that River of Life permits individuals to remain at the shelter
         after 17 days in the Emergency Services Program only on the
         condition that they become part of the New Life Discipleship
         program, which has a mandatory religious focus. For
         example, there is evidence that participants in the New Life
         Program are not allowed to spend days at Corpus Christi, a
         local Catholic program, “because it’s . . . a different sect.”
         There are also facts in dispute concerning whether the
         Emergency Services Program itself has a religious
         component. Although the City argues strenuously that the
         Emergency Services Program is secular, Anderson testified
         to the contrary; he stated that he was once required to attend
         chapel before being permitted to eat dinner at the River of
         Life shelter. Both Martin and Anderson have objected to the
         overall religious atmosphere of the River of Life shelter,
         including the Christian messaging on the shelter’s intake
         form and the Christian iconography on the shelter walls. A
         city cannot, via the threat of prosecution, coerce an individual
         to attend religion-based treatment programs consistently with
         the Establishment Clause of the First Amendment. Inouye v.
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         Kemna, 504 F.3d 705, 712–13 (9th Cir. 2007). Yet at the
         conclusion of a 17-day stay at River of Life, or a 30-day stay
         at City Light, an individual may be forced to choose between
         sleeping outside on nights when Sanctuary is full (and risking
         arrest under the ordinances), or enrolling in BRM
         programming that is antithetical to his or her religious beliefs.

             The 17-day and 30-day limits are not the only BRM
         policies which functionally limit access to BRM facilities
         even when space is nominally available. River of Life also
         turns individuals away if they voluntarily leave the shelter
         before the 17-day limit and then attempt to return within
         30 days. An individual who voluntarily leaves a BRM
         facility for any reason — perhaps because temporary shelter
         is available at Sanctuary, or with friends or family, or in a
         hotel — cannot immediately return to the shelter if
         circumstances change. Moreover, BRM’s facilities may deny
         shelter to any individual who arrives after 5:30 pm, and
         generally will deny shelter to anyone arriving after 8:00 pm.
         Sanctuary, however, does not assign beds to persons on its
         waiting list until 9:00 pm. Thus, by the time a homeless
         individual on the Sanctuary waiting list discovers that the
         shelter has no room available, it may be too late to seek
         shelter at either BRM facility.

             So, even if we credit the City’s evidence that BRM’s
         facilities have never been “full,” and that the City has never
         cited any person under the ordinances who could not obtain
         shelter “due to a lack of shelter capacity,” there remains a
         genuine issue of material fact as to whether homeless
         individuals in Boise run a credible risk of being issued a
         citation on a night when Sanctuary is full and they have been
         denied entry to a BRM facility for reasons other than shelter
         capacity. If so, then as a practical matter, no shelter is
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         available. We note that despite the Shelter Protocol and the
         amendments to both ordinances, the City continues regularly
         to issue citations for violating both ordinances; during the
         first three months of 2015, the Boise Police Department
         issued over 175 such citations.

              The City argues that Martin faces little risk of prosecution
         under either ordinance because he has not lived in Boise since
         2013. Martin states, however, that he is still homeless and
         still visits Boise several times a year to visit his minor son,
         and that he has continued to seek shelter at Sanctuary and
         River of Life. Although Martin may no longer spend enough
         time in Boise to risk running afoul of BRM’s 17-day limit, he
         testified that he has unsuccessfully sought shelter at River of
         Life after being placed on Sanctuary’s waiting list, only to
         discover later in the evening that Sanctuary had no available
         beds. Should Martin return to Boise to visit his son, there is
         a reasonable possibility that he might again seek shelter at
         Sanctuary, only to discover (after BRM has closed for the
         night) that Sanctuary has no space for him. Anderson, for his
         part, continues to live in Boise and states that he remains
         homeless.

             We conclude that both Martin and Anderson have
         demonstrated a genuine issue of material fact regarding
         whether they face a credible risk of prosecution under the
         ordinances in the future on a night when they have been
         denied access to Boise’s homeless shelters; both plaintiffs
         therefore have standing to seek prospective relief.

         B. Heck v. Humphrey

            We turn next to the impact of Heck v. Humphrey and its
         progeny on this case. With regard to retrospective relief, the
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         plaintiffs maintain that Heck should not bar their claims
         because, with one exception, all of the plaintiffs were
         sentenced to time served.7 It would therefore have been
         impossible for the plaintiffs to obtain federal habeas relief, as
         any petition for a writ of habeas corpus must be filed while
         the petitioner is “in custody pursuant to the judgment of a
         State court.” See 28 U.S.C. § 2254(a); Spencer v. Kemna,
         523 U.S. 1, 7, 17–18 (1998). With regard to prospective
         relief, the plaintiffs emphasize that they seek only equitable
         protection against future enforcement of an allegedly
         unconstitutional statute, and not to invalidate any prior
         conviction under the same statute. We hold that although the
         Heck line of cases precludes most — but not all — of the
         plaintiffs’ requests for retrospective relief, that doctrine has
         no application to the plaintiffs’ request for an injunction
         enjoining prospective enforcement of the ordinances.

              1. The Heck Doctrine

             A long line of Supreme Court case law, beginning with
         Preiser v. Rodriguez, 411 U.S. 475 (1973), holds that a
         prisoner in state custody cannot use a § 1983 action to
         challenge the fact or duration of his or her confinement, but
         must instead seek federal habeas corpus relief or analogous
         state relief. Id. at 477, 500. Preiser considered whether a
         prison inmate could bring a § 1983 action seeking an
         injunction to remedy an unconstitutional deprivation of good-
         time conduct credits. Observing that habeas corpus is the
         traditional instrument to obtain release from unlawful


              7
               Plaintiff Pamela Hawkes was convicted of violating the Camping
         Ordinance or Disorderly Conduct Ordinance on twelve occasions;
         although she was usually sentenced to time served, she was twice
         sentenced to one additional day in jail.
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         confinement, Preiser recognized an implicit exception from
         § 1983’s broad scope for actions that lie “within the core of
         habeas corpus” — specifically, challenges to the “fact or
         duration” of confinement. Id. at 487, 500. The Supreme
         Court subsequently held, however, that although Preiser
         barred inmates from obtaining an injunction to restore good-
         time credits via a § 1983 action, Preiser did not “preclude a
         litigant with standing from obtaining by way of ancillary
         relief an otherwise proper injunction enjoining the
         prospective enforcement of invalid prison regulations.” Wolff
         v. McDonnell, 418 U.S. 539, 555 (1974) (emphasis added).

             Heck addressed a § 1983 action brought by an inmate
         seeking compensatory and punitive damages. The inmate
         alleged that state and county officials had engaged in
         unlawful investigations and knowing destruction of
         exculpatory evidence. Heck, 512 U.S. at 479. The Court in
         Heck analogized a § 1983 action of this type, which called
         into question the validity of an underlying conviction, to a
         cause of action for malicious prosecution, id. at 483–84, and
         went on to hold that, as with a malicious prosecution claim,
         a plaintiff in such an action must demonstrate a favorable
         termination of the criminal proceedings before seeking tort
         relief, id. at 486–87. “[T]o recover damages for allegedly
         unconstitutional conviction or imprisonment, or for other
         harm caused by actions whose unlawfulness would render a
         conviction or sentence invalid, a § 1983 plaintiff must prove
         that the conviction or sentence has been reversed on direct
         appeal, expunged by executive order, declared invalid by a
         state tribunal authorized to make such determination, or
         called into question by a federal court’s issuance of a writ of
         habeas corpus.” Id.
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              Edwards v. Balisok, 520 U.S. 641 (1997) extended Heck’s
         holding to claims for declaratory relief. Id. at 648. The
         plaintiff in Edwards alleged that he had been deprived of
         earned good-time credits without due process of law, because
         the decisionmaker in disciplinary proceedings had concealed
         exculpatory evidence. Because the plaintiff’s claim for
         declaratory relief was “based on allegations of deceit and bias
         on the part of the decisionmaker that necessarily imply the
         invalidity of the punishment imposed,” Edwards held, it was
         “not cognizable under § 1983.” Id. Edwards went on to hold,
         however, that a requested injunction requiring prison officials
         to date-stamp witness statements was not Heck-barred,
         reasoning that a “prayer for such prospective relief will not
         ‘necessarily imply’ the invalidity of a previous loss of good-
         time credits, and so may properly be brought under § 1983.”
         Id. (emphasis added).

             Most recently, Wilkinson v. Dotson, 544 U.S. 74 (2005),
         stated that Heck bars § 1983 suits even when the relief sought
         is prospective injunctive or declaratory relief, “if success in
         that action would necessarily demonstrate the invalidity of
         confinement or its duration.” Id. at 81–82 (emphasis
         omitted). But Wilkinson held that the plaintiffs in that case
         could seek a prospective injunction compelling the state to
         comply with constitutional requirements in parole
         proceedings in the future. The Court observed that the
         prisoners’ claims for future relief, “if successful, will not
         necessarily imply the invalidity of confinement or shorten its
         duration.” Id. at 82.

            The Supreme Court did not, in these cases or any other,
         conclusively determine whether Heck’s favorable-termination
         requirement applies to convicts who have no practical
         opportunity to challenge their conviction or sentence via a
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         petition for habeas corpus. See Muhammad v. Close,
         540 U.S. 749, 752 & n.2 (2004). But in Spencer, five Justices
         suggested that Heck may not apply in such circumstances.
         Spencer, 523 U.S. at 3.

             The petitioner in Spencer had filed a federal habeas
         petition seeking to invalidate an order revoking his parole.
         While the habeas petition was pending, the petitioner’s term
         of imprisonment expired, and his habeas petition was
         consequently dismissed as moot. Justice Souter wrote a
         concurring opinion in which three other Justices joined,
         addressing the petitioner’s argument that if his habeas
         petition were mooted by his release, any § 1983 action would
         be barred under Heck, yet he would no longer have access to
         a federal habeas forum to challenge the validity of his parole
         revocation. Id. at 18–19 (Souter, J., concurring). Justice
         Souter stated that in his view “Heck has no such effect,” and
         that “a former prisoner, no longer ‘in custody,’ may bring a
         § 1983 action establishing the unconstitutionality of a
         conviction or confinement without being bound to satisfy a
         favorable-termination requirement that it would be
         impossible as a matter of law for him to satisfy.” Id. at 21.
         Justice Stevens, dissenting, stated that he would have held the
         habeas petition in Spencer not moot, but agreed that “[g]iven
         the Court’s holding that petitioner does not have a remedy
         under the habeas statute, it is perfectly clear . . . that he may
         bring an action under 42 U.S.C. § 1983.” Id. at 25 n.8
         (Stevens, J., dissenting).

             Relying on the concurring and dissenting opinions in
         Spencer, we have held that the “unavailability of a remedy in
         habeas corpus because of mootness” permitted a plaintiff
         released from custody to maintain a § 1983 action for
         damages, “even though success in that action would imply the
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         invalidity of the disciplinary proceeding that caused
         revocation of his good-time credits.” Nonnette v. Small,
         316 F.3d 872, 876 (9th Cir. 2002). But we have limited
         Nonnette in recent years. Most notably, we held in Lyall v.
         City of Los Angeles, 807 F.3d 1178 (9th Cir. 2015), that even
         where a plaintiff had no practical opportunity to pursue
         federal habeas relief while detained because of the short
         duration of his confinement, Heck bars a § 1983 action that
         would imply the invalidity of a prior conviction if the
         plaintiff could have sought invalidation of the underlying
         conviction via direct appeal or state post-conviction relief, but
         did not do so. Id. at 1192 & n.12.

              2. Retrospective Relief

             Here, the majority of the plaintiffs’ claims for
         retrospective relief are governed squarely by Lyall. It is
         undisputed that all the plaintiffs not only failed to challenge
         their convictions on direct appeal but expressly waived the
         right to do so as a condition of their guilty pleas. The
         plaintiffs have made no showing that any of their convictions
         were invalidated via state post-conviction relief. We
         therefore hold that all but two of the plaintiffs’ claims for
         damages are foreclosed under Lyall.

             Two of the plaintiffs, however, Robert Martin and Pamela
         Hawkes, also received citations under the ordinances that
         were dismissed before the state obtained a conviction.
         Hawkes was cited for violating the Camping Ordinance on
         July 8, 2007; that violation was dismissed on August 28,
         2007. Martin was cited for violating the Disorderly Conduct
         Ordinance on April 24, 2009; those charges were dismissed
         on September 9, 2009. With respect to these two incidents,
         the district court erred in finding that the plaintiffs’ Eighth
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         Amendment challenge was barred by Heck. Where there is
         no “conviction or sentence” that may be undermined by a
         grant of relief to the plaintiffs, the Heck doctrine has no
         application. 512 U.S. at 486–87; see also Wallace v. Kato,
         549 U.S. 384, 393 (2007).

             Relying on Ingraham v. Wright, 430 U.S. 651, 664
         (1977), the City argues that the Eighth Amendment, and the
         Cruel and Unusual Punishments Clause in particular, have no
         application where there has been no conviction. The City’s
         reliance on Ingraham is misplaced. As the Supreme Court
         observed in Ingraham, the Cruel and Unusual Punishments
         Clause not only limits the types of punishment that may be
         imposed and prohibits the imposition of punishment grossly
         disproportionate to the severity of the crime, but also
         “imposes substantive limits on what can be made criminal
         and punished as such.” Id. at 667. “This [latter] protection
         governs the criminal law process as a whole, not only the
         imposition of punishment postconviction.” Jones, 444 F.3d
         at 1128.

             Ingraham concerned only whether “impositions outside
         the criminal process” — in that case, the paddling of
         schoolchildren — “constituted cruel and unusual
         punishment.” 430 U.S. at 667. Ingraham did not hold that a
         plaintiff challenging the state’s power to criminalize a
         particular status or conduct in the first instance, as the
         plaintiffs in this case do, must first be convicted. If
         conviction were a prerequisite for such a challenge, “the state
         could in effect punish individuals in the preconviction stages
         of the criminal law enforcement process for being or doing
         things that under the [Cruel and Unusual Punishments
         Clause] cannot be subject to the criminal process.” Jones,
         444 F.3d at 1129. For those rare Eighth Amendment
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         challenges concerning the state’s very power to criminalize
         particular behavior or status, then, a plaintiff need
         demonstrate only the initiation of the criminal process against
         him, not a conviction.

              3. Prospective Relief

             The district court also erred in concluding that the
         plaintiffs’ requests for prospective injunctive relief were
         barred by Heck. The district court relied entirely on language
         in Wilkinson stating that “a state prisoner’s § 1983 action is
         barred (absent prior invalidation) . . . no matter the relief
         sought (damages or equitable relief) . . . if success in that
         action would necessarily demonstrate the invalidity of
         confinement or its duration.” Wilkinson, 544 U.S. at 81–82.
         The district court concluded from this language in Wilkinson
         that a person convicted under an allegedly unconstitutional
         statute may never challenge the validity or application of that
         statute after the initial criminal proceeding is complete, even
         when the relief sought is prospective only and independent of
         the prior conviction. The logical extension of the district
         court’s interpretation is that an individual who does not
         successfully invalidate a first conviction under an
         unconstitutional statute will have no opportunity to challenge
         that statute prospectively so as to avoid arrest and conviction
         for violating that same statute in the future.

            Neither Wilkinson nor any other case in the Heck line
         supports such a result. Rather, Wolff, Edwards, and
         Wilkinson compel the opposite conclusion.

            Wolff held that although Preiser barred a § 1983 action
         seeking restoration of good-time credits absent a successful
         challenge in federal habeas proceedings, Preiser did not
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         “preclude a litigant with standing from obtaining by way of
         ancillary relief an otherwise proper injunction enjoining the
         prospective enforcement of invalid . . . regulations.” Wolff,
         418 U.S. at 555. Although Wolff was decided before Heck,
         the Court subsequently made clear that Heck effected no
         change in the law in this regard, observing in Edwards that
         “[o]rdinarily, a prayer for . . . prospective [injunctive] relief
         will not ‘necessarily imply’ the invalidity of a previous loss
         of good-time credits, and so may properly be brought under
         § 1983.” Edwards, 520 U.S. at 648 (emphasis added).
         Importantly, the Court held in Edwards that although the
         plaintiff could not, consistently with Heck, seek a declaratory
         judgment stating that the procedures employed by state
         officials that deprived him of good-time credits were
         unconstitutional, he could seek an injunction barring such
         allegedly unconstitutional procedures in the future. Id.
         Finally, the Court noted in Wilkinson that the Heck line of
         cases “has focused on the need to ensure that state prisoners
         use only habeas corpus (or similar state) remedies when they
         seek to invalidate the duration of their confinement,”
         Wilkinson, 544 U.S. at 81 (emphasis added), alluding to an
         existing confinement, not one yet to come.

             The Heck doctrine, in other words, serves to ensure the
         finality and validity of previous convictions, not to insulate
         future prosecutions from challenge. In context, it is clear that
         Wilkinson’s holding that the Heck doctrine bars a § 1983
         action “no matter the relief sought (damages or equitable
         relief) . . . if success in that action would necessarily
         demonstrate the invalidity of confinement or its duration”
         applies to equitable relief concerning an existing
         confinement, not to suits seeking to preclude an
         unconstitutional confinement in the future, arising from
         incidents occurring after any prior conviction and stemming
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         from a possible later prosecution and conviction. Id. at 81–82
         (emphasis added). As Wilkinson held, “claims for future
         relief (which, if successful, will not necessarily imply the
         invalidity of confinement or shorten its duration)” are distant
         from the “core” of habeas corpus with which the Heck line of
         cases is concerned, and are not precluded by the Heck
         doctrine. Id. at 82.

             In sum, we hold that the majority of the plaintiffs’ claims
         for retrospective relief are barred by Heck, but both Martin
         and Hawkes stated claims for damages to which Heck has no
         application. We further hold that Heck has no application to
         the plaintiffs’ requests for prospective injunctive relief.

         C. The Eighth Amendment

             At last, we turn to the merits — does the Cruel and
         Unusual Punishments Clause of the Eighth Amendment
         preclude the enforcement of a statute prohibiting sleeping
         outside against homeless individuals with no access to
         alternative shelter? We hold that it does, for essentially the
         same reasons articulated in the now-vacated Jones opinion.

             The Eighth Amendment states: “Excessive bail shall not
         be required, nor excessive fines imposed, nor cruel and
         unusual punishments inflicted.” U.S. Const., amend. VIII.
         The Cruel and Unusual Punishments Clause “circumscribes
         the criminal process in three ways.” Ingraham, 430 U.S. at
         667. First, it limits the type of punishment the government
         may impose; second, it proscribes punishment “grossly
         disproportionate” to the severity of the crime; and third, it
         places substantive limits on what the government may
         criminalize. Id. It is the third limitation that is pertinent here.
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             “Even one day in prison would be a cruel and unusual
         punishment for the ‘crime’ of having a common cold.”
         Robinson v. California, 370 U.S. 660, 667 (1962). Cases
         construing substantive limits as to what the government may
         criminalize are rare, however, and for good reason — the
         Cruel and Unusual Punishments Clause’s third limitation is
         “one to be applied sparingly.” Ingraham, 430 U.S. at 667.

             Robinson, the seminal case in this branch of Eighth
         Amendment jurisprudence, held a California statute that
         “ma[de] the ‘status’ of narcotic addiction a criminal offense”
         invalid under the Cruel and Unusual Punishments Clause.
         370 U.S. at 666. The California law at issue in Robinson was
         “not one which punishe[d] a person for the use of narcotics,
         for their purchase, sale or possession, or for antisocial or
         disorderly behavior resulting from their administration”; it
         punished addiction itself. Id. Recognizing narcotics
         addiction as an illness or disease — “apparently an illness
         which may be contracted innocently or involuntarily” — and
         observing that a “law which made a criminal offense of . . . a
         disease would doubtless be universally thought to be an
         infliction of cruel and unusual punishment,” Robinson held
         the challenged statute a violation of the Eighth Amendment.
         Id. at 666–67.

             As Jones observed, Robinson did not explain at length the
         principles underpinning its holding. See Jones, 444 F.3d at
         1133. In Powell v. Texas, 392 U.S. 514 (1968), however, the
         Court elaborated on the principle first articulated in Robinson.

             Powell concerned the constitutionality of a Texas law
         making public drunkenness a criminal offense. Justice
         Marshall, writing for a plurality of the Court, distinguished
         the Texas statute from the law at issue in Robinson on the
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         ground that the Texas statute made criminal not alcoholism
         but conduct — appearing in public while intoxicated.
         “[A]ppellant was convicted, not for being a chronic alcoholic,
         but for being in public while drunk on a particular occasion.
         The State of Texas thus has not sought to punish a mere
         status, as California did in Robinson; nor has it attempted to
         regulate appellant’s behavior in the privacy of his own
         home.” Id. at 532 (plurality opinion).

              The Powell plurality opinion went on to interpret
         Robinson as precluding only the criminalization of “status,”
         not of “involuntary” conduct. “The entire thrust of
         Robinson’s interpretation of the Cruel and Unusual
         Punishment Clause is that criminal penalties may be inflicted
         only if the accused has committed some act, has engaged in
         some behavior, which society has an interest in preventing, or
         perhaps in historical common law terms, has committed some
         actus reus. It thus does not deal with the question of whether
         certain conduct cannot constitutionally be punished because
         it is, in some sense, ‘involuntary’ . . . .” Id. at 533.

             Four Justices dissented from the Court’s holding in
         Powell; Justice White concurred in the result alone. Notably,
         Justice White noted that many chronic alcoholics are also
         homeless, and that for those individuals, public drunkenness
         may be unavoidable as a practical matter. “For all practical
         purposes the public streets may be home for these
         unfortunates, not because their disease compels them to be
         there, but because, drunk or sober, they have no place else to
         go and no place else to be when they are drinking. . . . For
         some of these alcoholics I would think a showing could be
         made that resisting drunkenness is impossible and that
         avoiding public places when intoxicated is also impossible.
         As applied to them this statute is in effect a law which bans
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         a single act for which they may not be convicted under the
         Eighth Amendment — the act of getting drunk.” Id. at 551
         (White, J., concurring in the judgment).

             The four dissenting Justices adopted a position consistent
         with that taken by Justice White: that under Robinson,
         “criminal penalties may not be inflicted upon a person for
         being in a condition he is powerless to change,” and that the
         defendant, “once intoxicated, . . . could not prevent himself
         from appearing in public places.” Id. at 567 (Fortas, J.,
         dissenting). Thus, five Justices gleaned from Robinson the
         principle that “that the Eighth Amendment prohibits the state
         from punishing an involuntary act or condition if it is the
         unavoidable consequence of one’s status or being.” Jones,
         444 F.3d at 1135; see also United States v. Roberston,
         875 F.3d 1281, 1291 (9th Cir. 2017).

              This principle compels the conclusion that the Eighth
         Amendment prohibits the imposition of criminal penalties for
         sitting, sleeping, or lying outside on public property for
         homeless individuals who cannot obtain shelter. As Jones
         reasoned, “[w]hether sitting, lying, and sleeping are defined
         as acts or conditions, they are universal and unavoidable
         consequences of being human.” Jones, 444 F.3d at 1136.
         Moreover, any “conduct at issue here is involuntary and
         inseparable from status — they are one and the same, given
         that human beings are biologically compelled to rest, whether
         by sitting, lying, or sleeping.” Id. As a result, just as the state
         may not criminalize the state of being “homeless in public
         places,” the state may not “criminalize conduct that is an
         unavoidable consequence of being homeless — namely
         sitting, lying, or sleeping on the streets.” Id. at 1137.
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              Our holding is a narrow one. Like the Jones panel, “we
         in no way dictate to the City that it must provide sufficient
         shelter for the homeless, or allow anyone who wishes to sit,
         lie, or sleep on the streets . . . at any time and at any place.”
         Id. at 1138. We hold only that “so long as there is a greater
         number of homeless individuals in [a jurisdiction] than the
         number of available beds [in shelters],” the jurisdiction
         cannot prosecute homeless individuals for “involuntarily
         sitting, lying, and sleeping in public.” Id. That is, as long as
         there is no option of sleeping indoors, the government cannot
         criminalize indigent, homeless people for sleeping outdoors,
         on public property, on the false premise they had a choice in
         the matter.8

             We are not alone in reaching this conclusion. As one
         court has observed, “resisting the need to eat, sleep or engage
         in other life-sustaining activities is impossible. Avoiding
         public places when engaging in this otherwise innocent
         conduct is also impossible. . . . As long as the homeless
         plaintiffs do not have a single place where they can lawfully
         be, the challenged ordinances, as applied to them, effectively

              8
                Naturally, our holding does not cover individuals who do have
         access to adequate temporary shelter, whether because they have the
         means to pay for it or because it is realistically available to them for free,
         but who choose not to use it. Nor do we suggest that a jurisdiction with
         insufficient shelter can never criminalize the act of sleeping outside. Even
         where shelter is unavailable, an ordinance prohibiting sitting, lying, or
         sleeping outside at particular times or in particular locations might well be
         constitutionally permissible. See Jones, 444 F.3d at 1123. So, too, might
         an ordinance barring the obstruction of public rights of way or the erection
         of certain structures. Whether some other ordinance is consistent with the
         Eighth Amendment will depend, as here, on whether it punishes a person
         for lacking the means to live out the “universal and unavoidable
         consequences of being human” in the way the ordinance prescribes. Id.
         at 1136.
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         punish them for something for which they may not be
         convicted under the [E]ighth [A]mendment — sleeping,
         eating and other innocent conduct.” Pottinger v. City of
         Miami, 810 F. Supp. 1551, 1565 (S.D. Fla. 1992); see also
         Johnson v. City of Dallas, 860 F. Supp. 344, 350 (N.D. Tex.
         1994) (holding that a “sleeping in public ordinance as applied
         against the homeless is unconstitutional”), rev’d on other
         grounds, 61 F.3d 442 (5th Cir. 1995).9

             Here, the two ordinances criminalize the simple act of
         sleeping outside on public property, whether bare or with a
         blanket or other basic bedding. The Disorderly Conduct
         Ordinance, on its face, criminalizes “[o]ccupying, lodging, or
         sleeping in any building, structure or place, whether public or
         private” without permission. Boise City Code § 6-01-05. Its
         scope is just as sweeping as the Los Angeles ordinance at
         issue in Jones, which mandated that “[n]o person shall sit, lie
         or sleep in or upon any street, sidewalk or other public way.”
         444 F.3d at 1123.

             The Camping Ordinance criminalizes using “any of the
         streets, sidewalks, parks or public places as a camping place



             9
               In Joel v. City of Orlando, 232 F.3d 1353, 1362 (11th Cir. 2000),
         the Eleventh Circuit upheld an anti-camping ordinance similar to Boise’s
         against an Eighth Amendment challenge. In Joel, however, the defendants
         presented unrefuted evidence that the homeless shelters in the City of
         Orlando had never reached capacity and that the plaintiffs had always
         enjoyed access to shelter space. Id. Those unrefuted facts were critical
         to the court’s holding. Id. As discussed below, the plaintiffs here have
         demonstrated a genuine issue of material fact concerning whether they
         have been denied access to shelter in the past or expect to be so denied in
         the future. Joel therefore does not provide persuasive guidance for this
         case.
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         at any time.” Boise City Code § 9-10-02. The ordinance
         defines “camping” broadly:

                The term “camp” or “camping” shall mean the
                use of public property as a temporary or
                permanent place of dwelling, lodging, or
                residence, or as a living accommodation at
                anytime between sunset and sunrise, or as a
                sojourn. Indicia of camping may include, but
                are not limited to, storage of personal
                belongings, using tents or other temporary
                structures for sleeping or storage of personal
                belongings, carrying on cooking activities or
                making any fire in an unauthorized area, or
                any of these activities in combination with
                one another or in combination with either
                sleeping or making preparations to sleep
                (including the laying down of bedding for the
                purpose of sleeping).

         Id. It appears from the record that the Camping Ordinance is
         frequently enforced against homeless individuals with some
         elementary bedding, whether or not any of the other listed
         indicia of “camping” — the erection of temporary structures,
         the activity of cooking or making fire, or the storage of
         personal property — are present. For example, a Boise police
         officer testified that he cited plaintiff Pamela Hawkes under
         the Camping Ordinance for sleeping outside “wrapped in a
         blanket with her sandals off and next to her,” for sleeping in
         a public restroom “with blankets,” and for sleeping in a park
         “on a blanket, wrapped in blankets on the ground.” The
         Camping Ordinance therefore can be, and allegedly is,
         enforced against homeless individuals who take even the
         most rudimentary precautions to protect themselves from the
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         elements.     We conclude that a municipality cannot
         criminalize such behavior consistently with the Eighth
         Amendment when no sleeping space is practically available
         in any shelter.

                                      III. Conclusion

             For the foregoing reasons, we AFFIRM the judgment of
         the district court as to the plaintiffs’ requests for retrospective
         relief, except as such claims relate to Hawkes’s July 2007
         citation under the Camping Ordinance and Martin’s April
         2009 citation under the Disorderly Conduct Ordinance. We
         REVERSE and REMAND with respect to the plaintiffs’
         requests for prospective relief, both declaratory and
         injunctive, and to the plaintiffs’ claims for retrospective relief
         insofar as they relate to Hawkes’ July 2007 citation or
         Martin’s April 2009 citation.10




             10
                  Costs shall be awarded to the plaintiffs.
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         OWENS, Circuit Judge, concurring in part and dissenting in
         part:

             I agree with the majority that the doctrine of Heck v.
         Humphrey, 512 U.S. 477 (1994), bars the plaintiffs’
         42 U.S.C. § 1983 claims for damages that are based on
         convictions that have not been challenged on direct appeal or
         invalidated in state post-conviction relief. See Lyall v. City of
         Los Angeles, 807 F.3d 1178, 1192 n.12 (9th Cir. 2015).

              I also agree that Heck and its progeny have no application
         where there is no “conviction or sentence” that would be
         undermined by granting a plaintiff’s request for relief under
         § 1983. Heck, 512 U.S. at 486–87; see also Wallace v. Kato,
         549 U.S. 384, 393 (2007). I therefore concur in the
         majority’s conclusion that Heck does not bar plaintiffs Robert
         Martin and Pamela Hawkes from seeking retrospective relief
         for the two instances in which they received citations, but not
         convictions. I also concur in the majority’s Eighth
         Amendment analysis as to those two claims for retrospective
         relief.

             Where I part ways with the majority is in my
         understanding of Heck’s application to the plaintiffs’ claims
         for declaratory and injunctive relief. In Wilkinson v. Dotson,
         544 U.S. 74 (2005), the Supreme Court explained where the
         Heck doctrine stands today:

                 [A] state prisoner’s § 1983 action is barred
                 (absent prior invalidation)—no matter the
                 relief sought (damages or equitable relief), no
                 matter the target of the prisoner’s suit (state
                 conduct leading to conviction or internal
                 prison proceedings)—if success in that action
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                would necessarily demonstrate the invalidity
                of confinement or its duration.

         Id. at 81–82. Here, the majority acknowledges this language
         in Wilkinson, but concludes that Heck’s bar on any type of
         relief that “would necessarily demonstrate the invalidity of
         confinement” does not preclude the prospective claims at
         issue. The majority reasons that the purpose of Heck is “to
         ensure the finality and validity of previous convictions, not to
         insulate future prosecutions from challenge,” and so
         concludes that the plaintiffs’ prospective claims may proceed.
          I respectfully disagree.

             A declaration that the city ordinances are unconstitutional
         and an injunction against their future enforcement necessarily
         demonstrate the invalidity of the plaintiffs’ prior convictions.
         Indeed, any time an individual challenges the
         constitutionality of a substantive criminal statute under which
         he has been convicted, he asks for a judgment that would
         necessarily demonstrate the invalidity of his conviction. And
         though neither the Supreme Court nor this court has squarely
         addressed Heck’s application to § 1983 claims challenging
         the constitutionality of a substantive criminal statute, I
         believe Edwards v. Balisok, 520 U.S. 641 (1997), makes clear
         that Heck prohibits such challenges. In Edwards, the
         Supreme Court explained that although our court had
         recognized that Heck barred § 1983 claims challenging the
         validity of a prisoner’s confinement “as a substantive matter,”
         it improperly distinguished as not Heck-barred all claims
         alleging only procedural violations. 520 U.S. at 645. In
         holding that Heck also barred those procedural claims that
         would necessarily imply the invalidity of a conviction, the
         Court did not question our conclusion that claims challenging
         a conviction “as a substantive matter” are barred by Heck.
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         Id.; see also Wilkinson, 544 U.S. at 82 (holding that the
         plaintiffs’ claims could proceed because the relief requested
         would only “render invalid the state procedures” and “a
         favorable judgment [would] not ‘necessarily imply the
         invalidity of [their] conviction[s] or sentence[s]’” (emphasis
         added) (quoting Heck, 512 U.S. at 487)).

             Edwards thus leads me to conclude that an individual who
         was convicted under a criminal statute, but who did not
         challenge the constitutionality of the statute at the time of his
         conviction through direct appeal or post-conviction relief,
         cannot do so in the first instance by seeking declaratory or
         injunctive relief under § 1983. See Abusaid v. Hillsborough
         Cty. Bd. of Cty. Comm’rs, 405 F.3d 1298, 1316 n.9 (11th Cir.
         2005) (assuming that a §1983 claim challenging “the
         constitutionality of the ordinance under which [the petitioner
         was convicted]” would be Heck-barred). I therefore would
         hold that Heck bars the plaintiffs’ claims for declaratory and
         injunctive relief.

             We are not the first court to struggle applying Heck to
         “real life examples,” nor will we be the last. See, e.g.,
         Spencer v. Kemna, 523 U.S. 1, 21 (1998) (Ginsburg, J.,
         concurring) (alterations and internal quotation marks omitted)
         (explaining that her thoughts on Heck had changed since she
         joined the majority opinion in that case). If the slate were
         blank, I would agree that the majority’s holding as to
         prospective relief makes good sense. But because I read
         Heck and its progeny differently, I dissent as to that section
         of the majority’s opinion. I otherwise join the majority in
         full.
